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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               BECKLEY DIVISION

DAVID M. DAUGHERTY,

                               Plaintiff,

v.                                                    CIVIL ACTION NO. 5:14-cv-24506

OCWEN LOAN SERVICING, LLC,

                               Defendant.


                                      JUDGMENT ORDER

        A jury trial was held in the above-styled matter from May 16, 2016 through May 23, 2016.

After deliberations, the jury returned a verdict in favor of the Plaintiff and against the Defendant.

The jury awarded the Plaintiff six thousand, one hundred twenty-eight dollars and thirty-nine cents

($6,128.39) in compensatory damages, and two million, five hundred thousand dollars

($2,500,000) in punitive damages.

        Wherefore, in accordance with the jury’s verdict, it is hereby ORDERED that judgment

be entered in favor of the Plaintiff and against the Defendant. It is further ORDERED that any

motions pending when the verdict was returned be TERMINATED AS MOOT, and that this

matter be STRICKEN from the docket.

        The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and to

any unrepresented party.

                                              ENTER:      September 26, 2016
